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 5
 6
 7
                          UNITED STATES DISTRICT COURT
 8
                        SOUTHERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                     Case No. 18-cr-3677-W
11
12                Plaintiff,
                                                   Joint status report
13         v.
14
     DUNCAN D. HUNTER,                             August 13, 2019 at 11:00 a.m.
15
16                Defendant.
17
18
           To aid the Court in preparation for the hearing on August 13, 2019, the
19
20   parties jointly submit this status report regarding the pending trial date.
21
     A.    Relevant Procedural History.
22
23         On July 9, 2019, the Court denied Mr. Hunter’s motion to dismiss the
24
     indictment under the Speech or Debate Clause of the United States
25
26   Constitution. See Dckt. No. 75.
27
           On July 19, 2019, Mr. Hunter filed a Notice of Interlocutory Appeal from
28
29   that denial. See Dckt. No. 78.
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 1         On July 22, 2019, the government filed a motion to dismiss the
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     interlocutory appeal with the Court of Appeals. See Dckt. No. 2 in USCA No.
 3
 4   19-50242.
 5
           On July 23, 2019, the Court of Appeals issued an order to show cause as
 6
 7   its jurisdiction. See Dckt. No. 3 in USCA No. 19-50242.
 8
           Also on July 23, 2019, Mr. Hunter filed a motion with the Court of
 9
10   Appeals for an extension of time to respond to both the government’s motion to
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     dismiss and the order to show cause. See Dckt. No. 4 in USCA No. 19-50242.
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13         On July 24, 2019, the Court of Appeals granted Mr. Hunter’s motion for
14
     an extension of time. See Dckt. No. 5 in USCA No. 19-50242. Mr. Hunter’s
15
16   consolidated response is now due September 6, 2019. The government intends
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     to file a reply brief. A three-judge panel will decide the motion to dismiss, once
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19   briefing is complete.
20
     B.    Joint Requests.
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22         In light of the above, the parties have met and conferred. They have
23
     agreed to the following:
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25         First, in the interests of justice, the parties jointly request the Court
26
27
     continue the trial date to October 29, 2019. This request is made without
28   prejudice to the litigation in the Court of Appeals.          It does not moot
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     Mr. Hunter’s interlocutory appeal or the government’s motion to dismiss the



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 1   appeal.    The parties understand that, depending on the Court of Appeals’
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     resolution of the motion to dismiss, the trial date may be vacated.
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 4         Second, the government intends to file a motion with this Court for a
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     finding of dual jurisdiction, such that the Court may preside over the trial while
 6
 7   the appeal is pending. Mr. Hunter will oppose that motion. The parties suggest
 8
     the following briefing schedule:
 9
10         a.     The government’s motion is due August 16, 2019.
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           b.     Mr. Hunter’s response in opposition is due August 23, 2019.
12
13         c.     Hearing on September 3, 2019, or whenever it is convenient for the
14
                  Court.
15
           If the Court grants the government’s motion and determines it retains
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17   jurisdiction, Mr. Hunter will seek a stay with the Court of Appeals, asking that
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     no trial take place until after the Court of Appeals decides the government’s
19
20   motion to dismiss the interlocutory appeal.
21
           If the Court of Appeals grants Mr. Hunter’s request for a stay and/or
22
23   denies the government’s motion to dismiss, the parties agree to request a status
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     hearing where they will address a new trial date as soon as the Court of Appeals
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26   returns the matter to this Court for further proceedings.
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 1                                               Respectfully submitted
                                                 with the consent of all parties,
 2
 3   Dated: August 12, 2019                      /s/ Devin Burstein
 4                                               Devin Burstein
                                                 Warren & Burstein
 5
 6   Dated: August 12, 2019                      /s/ Gregory Vega
 7                                               Gregory Vega
                                                 Seltzer Caplan McMahon Vitek
 8
 9   Dated: August 12, 2019                      /s/ Emily Allen
10                                               Emily Allen
11
                                                 Assistant United States Attorney
12                               Signature Certification
13
14
           I certify that all parties signing above are aware of the content of the
15
     above document and have authorized me to sign for them.
16
17   Dated: August 12, 2019                      /s/ Devin Burstein
                                                 Devin Burstein
18
                                                 Warren & Burstein
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